                                                         Judge: Christopher M. Alston
                                                         Chapter: 13
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2
                          IN THE UNITED STATES BANKRUPTCY COURT
3                   FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

4
     In Re:                                              IN CHAPTER 13 PROCEEDING
5
                                                         NO. 22-10270-CMA
6    KARIE A SIMMONS,
                                                         NOTICE OF CONTINUED MEETING OF
7                                                        CREDITORS
8                                 Debtor.
9
        PLEASE TAKE NOTICE that the Meeting of Creditors is CONTINUED to:
10

11      Date:                 June 06, 2022

12      Time:                  9:45 am
13
        THE MEETING shall be conducted by telephone:
14
        Conference Line:      1-866-880-5064
15

16      Participant Code:     6951575

17      IF THE DEBTOR FAILS TO APPEAR AT THE CONTINUED MEETING, THE CHAPTER 13
18
     TRUSTEE MAY APPLY FOR AN ORDER DISMISSING THIS CASE WITHOUT FURTHER
19
     NOTICE pursuant to Local Bankruptcy Rule 1017-1(e) and the United States Bankruptcy Court’s Notice
20

21   of Chapter 13 Bankruptcy Case.

22      Dated: May 23, 2022                            /s/ Jason Wilson-Aguilar
                                                       Jason Wilson-Aguilar, WSBA #33582
23
                                                       Chapter 13 Trustee
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                                                                                    Jason Wilson-Aguilar
                                                                           Chapter 13 Bankruptcy Trustee
     NOTICE OF CONTINUED MEETING OF CREDITORS                                    600 University St. #1300
                                                                                       Seattle, WA 98101
                                                                                          (206) 624-5124
        Case 22-10270-CMA         Doc 48      Filed 05/23/22   Ent. 05/23/22 12:48:13      Pg. 1 of 1
